      Case 2:21-cv-02003-SSV-JVM Document 19 Filed 05/09/22 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 DELTA MARINE SUPPORT, LLC, ET AL.                  *    CIVIL ACTION
     Plaintiffs                                     *    NO. 21-2003
                                                    *
 VERSUS                                             *    SECTION: "R" (1)
                                                    *
 MARSH BUGGIES INC., ET AL.                         *    JUDGE SARAH S. VANCE
    Defendants                                      *
                                                    *    MAGISTRATE JUDGE
                                                    *    JANIS VAN MEERVELD

                 ORDER SCHEDULING SETTLEMENT CONFERENCE

A settlement conference in the above matter is hereby scheduled for Thursday, July 14, 2022, at
9:00 a.m., before Magistrate Judge Janis van Meerveld, Room B-345, Hale Boggs Building, 500
Poydras Street, New Orleans, Louisiana. Please note that a photo ID is required to enter the
building. PLEASE BE PUNCTUAL.

The required settlement memoranda, more fully described on Page 2, are due no later than
11:59 p.m. on Thursday, July 7, 2022.

WHO MUST ATTEND?

Persons with ultimate settlement authority must appear (in person or via telephone) and
participate throughout the conference. On the plaintiff's side, ultimate settlement authority
means the ability to fully negotiate to any number. On the defense side, ultimate settlement
authority means the ability to negotiate up to the amount of the demand, even if there is no
intention to ever offer anything close to it. Any counsel appearing without full and ultimate
settlement authority, or without having secured the participation of the person with full and
ultimate settlement authority throughout the settlement conference, may be sanctioned.

Participation of parties is likely to increase the efficiency and effectiveness of the settlement
conference. If the conference is being held within two months of the trial date, any party who
resides or has a business address within 100 miles of the courthouse shall attend the
conference in person with counsel. A request to be exempt from this requirement should be
submitted to the Court in writing no later than one week prior to the conference. Address your
request to efile-vanmeerveld@laed.uscourts.gov. The email subject line should include your case
number and “Request for non-appearance of a party.”

WHO ELSE SHOULD ATTEND?

Other people sometimes are key to settling the case. For example, the attendance of a spouse may
be helpful. Consider whether any intervenors need to be present. Counsel assisting your client on



                                               1
       Case 2:21-cv-02003-SSV-JVM Document 19 Filed 05/09/22 Page 2 of 4




related matters may need to be involved. At the very least, contact information should be available
for them at the conference.

WHAT MUST OCCUR PRIOR TO THE SETTLEMENT CONFERENCE?

At least ten days prior to the conference, the plaintiff is to have made a settlement demand. No
later than one week prior to the conference, the defendant is to have responded to that demand.
Should the conference be set less than ten days out from this notice, the plaintiff must still make
a settlement demand and the defendant must still respond prior to the conference.

Counsel must share with the court the dollar amounts of their settlement demand/response. To
the extent the demand/response was made in writing, a copy of that document should be attached
to the settlement memorandum.

In addition, at least one week prior to the conference, plaintiff’s counsel should circulate updated
medical billing information, medical reports, economist reports, liability expert reports, vocational
rehab reports, etc. to defense counsel. Remember that defense counsel are often reporting to
clients, adjusters, and risk managers who need time to review and evaluate. This will help ensure
defense counsel arrives with enough authority to settle the matter.

Defense counsel should allow enough time to speak to their decision makers about the information
and authority, and should similarly provide any new documentation to plaintiff’s counsel at least
one week in advance of the conference. If the client/adjuster will not be present, get all office and
cell phone numbers you may need to contact that person during the conference.

WHAT MUST YOU SUBMIT IN ADVANCE?

Each party shall provide, in confidence, a concise settlement memorandum no longer than five
(5) double spaced pages, using no smaller than a 12 point font. Other than the written formal
demand or response referenced above, attachments or exhibits should not be included unless
they would greatly enhance the Court’s understanding of the case. This option should be
used sparingly. The memorandum shall include a brief description of:
    1. any liability disputes;
    2. facts you believe you can prove at trial;
    3. the damages at issue in the case;
    4. the major weaknesses in each side’s case, both factual and legal;
    5. the history of settlement negotiations thus far, including dollar amounts;
    6. the party’s settlement position;
    7. the major obstacle to settlement as you perceive it;
    8. reference to any pending dispositive or other motions that would have a significant effect
        on settlement for the Court to review prior to settlement;
    9. any other special issues that may have a material bearing upon settlement discussions (e.g.
        outstanding liens, particularly contentious litigation history, etc.);
    10. individuals you plan to bring to the settlement conference; and
    11. cell phone numbers of counsel participating in the conference.



                                                 2
       Case 2:21-cv-02003-SSV-JVM Document 19 Filed 05/09/22 Page 3 of 4




In setting forth your settlement position, do not just argue the merits of your case. For the Court
and parties to be successful in the limited time provided for this settlement conference, you should
provide the Court with a clear and candid understanding of your and your client’s actual evaluation
of the case and an idea of where you believe the case should settle.

The memorandum shall include the case number, case name, and should be emailed directly to:
efile-vanmeerveld@laed.uscourts.gov. The email subject line should read: “21-2003 - July 14,
2022 - [Plaintiff’s/Defendant’s] Settlement Position Paper.” Do not mail hard copies of the
settlement memorandum to chambers.

COMMUNICATIONS               WITH      THE      COURT       PRIOR TO          THE      SETTLEMENT
CONFERENCE.

You may be contacted by the Court to answer questions, clarify issues, discuss who is attending
the settlement conference, and other preliminary matters designed to ensure the conference itself
is productive. Similarly, counsel is invited to contact the Court to address any matters it believes
need to be discussed in advance, including any request to conduct lengthy or high tech opening
statements.

It is the duty of the plaintiff(s) to notify this Court if trial is continued or if the case is settled or
otherwise disposed of prior to the date of the scheduled settlement conference, so that the matter
may be removed from the Court’s docket.

In the days immediately preceding the settlement conference, if either party believes that
negotiation attempts would not be fruitful at the time set for the conference for any reason (for
example, insufficient discovery, the need to wait on the resolution of a dispositive motion, or an
inability to obtain any settlement authority from the client), that party should contact the Court as
soon as possible to discuss the concern.

HOW LONG WILL THE CONFERENCE LAST?

Settlement conferences conducted by this Court are generally scheduled for two to three hours and
may be one of two such sessions in a given day. Consequently, lengthy opening
sessions/statements typical of some private mediations will generally not be entertained by the
Court unless permission is obtained in advance. Counsel for the parties are strongly encouraged
to engage in preliminary discussions with an eye toward meaningfully narrowing their disputes
before appearing for the Conference.

PARKING.

It can delay the conference when participants need to go feed a parking meter. Please see the
Court’s website for resources in planning your parking strategy, and note that some parking options
can be extended remotely by downloading the app “parkmobile.” Please note: the Court does not
endorse nor have any affiliation with any parking lots or parking services and assumes no
responsibility when you use these services.

                                                    3
Case 2:21-cv-02003-SSV-JVM Document 19 Filed 05/09/22 Page 4 of 4




New Orleans, Louisiana, this        day of May, 2022.




                                              Janis van Meerveld
                                         United States Magistrate Judge




                                4
